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            9
                 Attorneys for Defendant Facebook, Inc.,
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          11                                   UNITED STATES DISTRICT COURT
          12                                 NORTHERN DISTRICT OF CALIFORNIA
                                                  SAN FRANCISCO DIVISION
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          15     IN RE: FACEBOOK, INC. CONSUMER                     CASE NO. 3:18-MD-02843-VC
                 PRIVACY USER PROFILE LITIGATION,
          16                                                        [PROPOSED] ORDER GRANTING
                                                                    FACEBOOK, INC.’S ADMINISTRATIVE
          17     This document relates to:                          MOTION TO FILE UNDER SEAL
                                                                    SPECIAL MASTER’S ORDER RE:
          18     ALL ACTIONS                                        BUSINESS PARTNERS
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Gibson, Dunn &
Crutcher LLP
                                                       [PROPOSED] ORDER
                                                     CASE NO. 3:18-MD-02843-VC
                      Case 3:18-md-02843-VC Document 760-1 Filed 11/19/21 Page 2 of 2


            1                                         [PROPOSED] ORDER

            2           Upon consideration of Facebook, Inc.’s November 19, 2021 Administrative Motion to File

            3    Under Seal Special Master’s Order Re: Business Partners and supporting materials filed by

            4    November 30, 2021, and good cause having been shown, the Motion is GRANTED.

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            6    IT IS SO ORDERED.

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            8    DATE: ____________________                         ___________________________________
                                                                    JACQUELINE SCOTT CORLEY
            9                                                       United States Magistrate Judge
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Gibson, Dunn &
Crutcher LLP
                                                        [PROPOSED] ORDER
                                                      CASE NO. 3:18-MD-02843-VC
